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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

v.
) NOTICE OF REMOVAL

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Defendant, MINIT VEN TQ U0 1

09-CV-00863-CMP

ONSRUD CUTTER, LP, d/b/a ONSRUD, an
Ihnois Limited Partnership,

 

 

 

TO: The Honorable Judges of the United States District Court of the Western District
of Washington;
TO: Mark Raby, Plaintiff

AND TO: Joel P. Nichols, Counsel for Plaintiff

Pursuant to 28 U.S.C. §1332 and 28 U.S.C. §1441, Defendant Onsrud Cutter, LP, d/b/a
Onsrud (“Defendant”) hereby removes the above-captioned action from the Superior Court of
Washington for Snohomish County on the grounds of diversity jurisdiction. 28 U.S.C. § 1332(a)
and 28 U.S.C. § 1441(a).

The following statement is submitted pursuant to 28 U.S.C. § 1446(a):

1. On May 15, 2009, an action was commenced by Plaintiff, in Snohomish County
Superior Court against Defendant, designated Case Number No. 09-2-05263-6A. A true and

correct copy of the Summons and Complaint is attached as Exhibit 1.

2. To Defendant's knowledge, no further proceedings have occurred in state court.
NOTICE OF REMOVAL - 1 Jackson Lewis LLP
(09-2-05263-6) One Union Square

600 University Street, Suite 2900
Seattle, Washington 98101
(206) 405-0404

“ee Plaintiff, ) No. C Q 9 - 0 8 6 3q(u+

 

 

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3, On May 22, 2009, Defendant received a copy of the Summon and Complaint
through a letter that its attorneys received from Joel P. Nichols, Counsel for Plaintiff. See
Declaration of Kurt Starovich (“Starovich Decl.”} at | 5 and Exhibit A.

4. Defendant is an Illinois limited partnership with its headquarters and principal
place of business in Libertyville, Illinois. Starovich Decl. at { 2.

5. The general partner for Defendant is Onsrud, Incorporated, a Delaware
corporation with its principal place of business in Libertyville, Illinois. Starovich Decl. at 3.

6. The limited partner for Defendant is Leitz Metalworking Technology GmbH &
CQ. KG, a German Corporation with its principal place of business in Oberkochen, Germany.
Starovich Decl. at 4.

7. According, Defendant is a citizen of the State of Illinois, the State of Delaware
and the Country of Germany. See, e.g., Carden v. Arkoma Associates, 494 U.S. 185, 110 S.Ct.
1015, 108 L.Ed.2d 157 (1990).

8. Based on information and belief, and the allegations in Plaintiffs Complaint,
Plaintiff is a resident of the State of Washington. See Exhibit 1 at § 1.1.

9. Piaintiff is seeking damages in excess of the jurisdictional amount of this Court,
$75,000.00, Specifically, as set forth in the Complaint:

a. Piaintiff claims that he is owed lost wages and other employment benefits;

b. Plaintiff does not plead the dollar amount of employment benefits he alleges he is
owed, but Plaintiff alleges that the amount of wages owed to him is approximately
$74,904.06;

c. Plaintiff alleges that he is entitled to double the amount of the wages owed to him
pursuant to RCW 49.52.070, or a total of $149,808.12 for lost wages and double
damages alone; and

d, Plaintiff demands attorneys’ fees and costs under Chapters 49.48 and 49.52 RCW.
See Exhibit 1 at 9 2.1, 3.2, 4.2, 5.2, 5.3, 6.1-6.4; see also Galt G/S v. JSS Scandinavia, 142 F.3d
1150, 1156 (9th Cir. 1998) (“[W]here an underlying statute authorizes an award of attorneys’

NOTICE OF REMOVAL - 2 dackson Lewis LLP

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Seattic, Washington 98101
(206) 405-0404

 
 

 

 

 

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fees, either with mandatory or discretionary language, such fees may be included in the amount
in controversy.”).

10. This Court has original jurisdiction over this civil action because, based on Plaintiff's
assertions in this Complaint, the matter in controversy exceeds the sum or value of $75,000.00 and
is between citizens of different states. 28 U.S.C. §1332(a)(1).

11. Defendant has filed and served this Notice of Removal within 30 days of receipt of
the Summons and Complaint. Accordingly, this Notice of Removal is timely filed pursuant to 28
U.S.C. § 1446(b).

12. This Court is the United States District Court for the District and division in
which Snohomish County Superior Court Case No. 09-2-05263-6 is pending.

DATED this 22nd day of June, 2009.

JACKSON LEWIS

 
 
   

 

Karen P. Kruse, WSBA #19857
Peter H. Nohle, WSBA #35849
Attorneys for Defendants

NOTICE OF REMOVAL - 3 Jackson Lewis LLP

(09-2-05263-6) One Union Square
600 University Street, Suite 2900

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DECLARATION OF SERVICE
The undersigned declares under penalty of perjury under the laws of the State of
Washington that a true and accurate copy of the document to which this declaration is affixed

was sent via hand delivery, on this day, to:

Joel P. Nichols
Deno Millikan Law Firm, PLLC
3411 Colby Avenue
Everett, WA 98201
Tel: 425-259-2222
Fax: 425-259-2033

Dated this 22nd day of June, 2009, at Seattle, Washington.

 

NOTICE OF REMOVAL - 4 Jackson Lewis LLP

09-2-05263-6 One Union Square
( 600 University Street, Suite 2900
Seattle, Washington 98101

(206) 405-0404

 

 

 
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EXHIBIT |

 

 
 

 

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MAY 15 2009

SONYA KRtASh:
COUNTY CLERK
SNOHOMISH CO. WASH.

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF SNOHOMISH

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MARE RARY,
No

 

Plaintiff,

vs, SUMMONS

ONSRUD CUTTER, LP, d/b/a ONSRUD, an
Ulinois Limited Parinership,

Defendant.

 

 

 

 

TO THE DEFENDANT: A lawsuit has been started against you in the above entitled court
by the above named plaintiff. Plaintiff's claim is stated in the written complaint, a copy of
which is served upon you with this summons.

in order to defend against this lawsuit, you must respond to the complaint by stating your
defense in writing, and serve a copy upon the undersigned attorney for the plaintiff within
20 days after service, or within 60 days after the service of this summons if served outside
the state of Washington, excluding the day of service, or a default judgment may be entered
against you without notice. A default judgment is one where the plaintiff is entitled to’
what he asks for because you have not responded. If you serve a notice of appearance on
ihe undersigned attorney, you are entitled to notice before a default judgment may be
entered.

SUMMONS~ Page 1
DENG MILLIKAN LAW FIRM, PLLC

34f1 COLBY AVENUE
EVERETT, WASHINGTON 9820]

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You may demand that the plaintiff file this lawsuit with the court. If you do so, the
demand must be in writing and must be served upon the plaintiff. Within 14 days after you
serve the demand, the plaintiff must file this lawsuit with the court, or the service on you of
this summons and complaint will be void. If you wish to seek the advice of an attorney in
this matter, you should do so promptly so that your written response, if any, may be served

on time.

This summons is issued pursuant to Rule 4 of the Superior Court Civil Rules of the State of

Washington.

DATED this _{4f _ day of May, 2009.

SUMMONS- Page 2

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DENO MILLIKAN LAW FIRM, PLLC

 

DENO MILLIKAN LAW FIRM, PLLC
3411 COLBY AVENUE
EVERETT, WASHINGTON 98291
425-259-2222

 

 
 

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FILED

MAY 15 2009
SONYA KRAS i:

COUNTY CLERK
SNGHOMISH CO, WASH,

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF SNOHOMISH

MARK RABY ‘ f se ge
Plaintiff,
COMPLAINT FOR BREACH OF
Vs. CONTRACT OR
MISREPRESENTATION,
ONSRUD CUTTER, LP, d/b/a ONSRUD, an WRONGFULLY WITHHELD
Illinois Limited Partnership, WAGES, AND OTHER RELIEF
Defendant.

 

 

Plaintiff, Mark Raby, by and through his attorney, Joel P. Nichols of DENO
MILLIKAN LAW FIRM, PLLC, by way of Complaint for Breach of Contract, Negligent
Misrepresentation, Wrongfully Withheld Wages, and Other Relief, alleges as follows:

I. PARTIES, JURISDICTION AND VENUE

1.1 Plaintiff Mark Raby is a resident of Snohomish County, Washington.

1.2 Defendant Onsrud Cutter, LP, d/b/a Onsrud, on information and belief, is an
IHinois Limited Partnership licensed to do business in the Siate of Washington, and

conducted business in Snohomish County, Washington at all times material hereto.

COMPLAINT FOR BREACH OF CONTRACT OR DENO MILLIKAN LAW FIRM, PLLC
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WAGES, AND OTHER RELIEF. Page | EVERETT, WASHINGTON 98201

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1.3 Jurisdiction and Venue: Jurisdiction and venue are appropriate with this

court, and all events occurred within Everett, Snohomish County, Washington.
Il. OPERATIVE FACTS

2.3 From March 19, 2008 through March 10, 2009, Plaintiff worked for
Defendant as a salesman under a written agreement in which Defendant guaranteed him a
base salary and commission totaling $95,000.00 per year for 2008 and 2009.

2.2 In January 2009, Defendant unilaterally cut Plaintiffs pay in half without
notice. When Plaintiff questioned this action, Defendant explained it interpreted the
contractual language to allow Defendant to modify the percentages of compensation it
designated as salary and commission, provided those amounts totaled $95,000 for 2009.
Defendant then made a modified offer to Plaintiff of compensation for 2009. still
guaranteeing a portion of salary and commission. Believing he had no choice but to accept
Defendant’s modification of the contract, Plaintiff accepted the modified offer of
employment for 2009.

2.3. On March 10, 2009, Defendant immediately discharged Plaintiff from his
employment without cause.

2.4 Defendant's offers, and Plaintiff's acceptance of those offers, formed
bilateral contracts that could not be terminated at will.

2.5 Plaintiff reasonably relied, to his detriment, on Defendant’s guarantees that

he would be paid salary and commission through the end of 2009.

COMPLAINT FOR BREACH OF CONTRACT OR DENO MILLIKAN LAW FIRM. PLLC
RM,
MISREPRESENTATION, WRONGFULLY WITHHELD 3411 COLBY AVENUE

WAGES, AND OTHER RELIEF- Page 2 EVERETT, WASHINGTON 98201
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[E. FIRST CAUSE OF ACTION — BREACH OF CONTRACT

3.1 Plaintiff realleges paragraphs 1.1 through 2.5 as if fully stated herein.

3.2. Defendant breached its contract with Plaintiff, both by failing to pay him as
agreed upon and by terminating his employment, causing Plaintiff to suffer damages in an
amount to be proven at trial.

TV. SECOND CAUSE OF ACTION — MISREPRESENTATION

4.1 Plaintiff realleges paragraphs 1.1 through 3.2 as if fully stated herein.

4.2 In the alternative, Defendant intentionally or negligently misrepresented the
conditions of Plaintiff's employment, causing Plaintiff to suffer damages in an amount to
be proven at trial.

V. THIRD CAUSE OF ACTION - WAGES DUE

5.1‘ Plaintiff realleges paragraphs 1.1 through 4.2 as if fully stated herein.

5.2 Defendant failed to pay wages owed to plaintiff pursuant to Washington
law, RCW Ch. 49.48 et seq, and RCW Ch. 49.52, et seq. The amount of wages owed to
plaintiff will be proven at the time of trial herein, is believed to be approximately
$74,904.06.

5.3 Defendant’s failure to pay Plaintiff wages due was willful, in violation of
RCW 49.52.050.

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COMPLAINT FOR BREACH OF CONTRACT OR DENO MILLIKAN LAW FIRM, PLLC
MISREPRESENTATION, WRONGFULLY WITHHELD 3411 COLBY AVENUE

WAGES, AND OTHER RELIEF- Page 3 EVERETT, WASHINGTON 98201
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VI. DEMAND

Plaintiff Mark Raby requests that judgment be entered against Defendant as
follows:

6.1. Awarding plaintiff special damages for lost wages, benefits and medical
expenses in an amount to be established at the time of trial.

6.2. Awarding plaintiff double the amount of wrongfully withheld wages
pursuant to RCW 49.52.070.

6.3. Awarding plaintiff actual and reasonable attorney fees and costs incurred in
this action whether by contract, equity, or statute, including but not limited ta RCW 49.48
et seq. and/or RCW 49.52 et seq.

6.4 Awarding plaintiff any additional or further relief which the court finds

appropriate or just, including but not limited to prejudgment interest.

DATED this /]__ day of May, 2009.

DENO MILLIKAN LAW FIRM, PLLC

 

COMPLAINT FOR BREACH OF CONTRACT OR

MISREPRESENTATION, WRONGFULLY WITHHELD DENO ar cornY awenue PLLC

WAGES, AND OTHER RELIEF- Page 4 EVERETT, WASHINGTON 98201
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